Case 08-10015-DWH         Doc 8   Filed 01/09/08 Entered 01/09/08 10:12:57     Desc Main
                                  Document     Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI


IN RE: KENNETH A. DOWNING
AND PAMELA J. DOWNING                                         CHAPTER 7

DEBTORS                                                       CASE NO. 08-10015

                                  MOTION TO AVOID LIEN


      COME NOW, Debtors, by and through their attorney of record, and request this

Honorable Court to issue an order voiding the lien of Discover Bank, Issuer of Discover

Card, and in support thereof would show unto the Court as follows, to wit:

      1. On the 2nd day of January 2008, Debtors filed bankruptcy and are entitled to

protection under the automatic stay.

      2. To the extent this lien impairs exempt property; Debtors are entitled to

avoidance of said lien.

      WHEREFORE, PREMISES CONSIDERED, Debtors move this Honorable Court

to order the avoidance of the above lien.



                                            RESPECTFULLY SUBMITTED,



                                            _/s/Karen B. Schneller__________________
                                            KAREN B. SCHNELLER, MSB # 6558
                                            ATTORNEY AT LAW
                                            POST OFFICE BOX 417
                                            HOLLY SPRINGS, MISSISSIPPI 38635
                                            (601) 252-3224
Case 08-10015-DWH       Doc 8    Filed 01/09/08 Entered 01/09/08 10:12:57       Desc Main
                                 Document     Page 2 of 3




                                CERTIFICATE OF SERVICE


       I, Karen B. Schneller, Attorney for Debtors, do hereby certify that I have this day
mailed, via electronic delivery or postage prepaid, a true and correct copy of the above
and foregoing Motion To Avoid Lien to:

Lester F. Smith, Esq.
721 Avignon Drive,
Bldg 10, Suite D
Ridgeland, MS 39157

Hon. Stephen P. Livingston
Chapter 7 Trustee
P. O. Box 729
New Albany, MS 38652

U. S. Trustee
100 West Capitol Street, Ste 706
Jackson, Mississippi 39269

      This the 8th day of January 2008.



                                          ___/s/Karen B. Schneller________
                                                  KAREN B. SCHNELLER
Case 08-10015-DWH         Doc 8   Filed 01/09/08 Entered 01/09/08 10:12:57      Desc Main
                                  Document     Page 3 of 3




                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

 IN RE: KENNETH A. DOWNING
 AND PAMELA J. DOWNING
                                                                      CHAPTER 7

 DEBTORS                                                               CASE NO. 08-
                                                                      10015

                                  ORDER AVOIDING LIEN


      This matter came on to be heard this day on the motion of Debtors requesting the

issuance of an order voiding the lien of Discover Bank, Issuer of Discover Card and it

appearing unto the Court as follows, to wit:

      1. On the 2nd day of January 2008, Debtors filed bankruptcy and are entitled to

protection under the automatic stay.

      2. To the extent this judgment impairs exempt property; Debtors are entitled to

avoidance of said lien.

      IT IS, THEREFORE, ORDERED that the above listed lien is hereby avoided, to the

extent that it impairs the Debtors’ exemptions.

      SO ORDERED this the _______ day of _____________________, 2008.



                                         _____________________________________
                                         DAVID W. HOUSTON, III
                                         U. S. BANKRUPTCY JUDGE
 KAREN B. SCHNELLER
 Attorney at Law
 Post Office Box 417
 Holly Springs, MS 38635
 662-252-3224
